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                             EXPERT REPORT
                                  OF
                       NORMAN I. KLEIN MD
              Clinical Assistant Professor of Medicine
                     NYU Langone Medical Center


          Kelsey Cascadia Rose Juliana; Xiuhtezcatl Tonatiuh M.,
through his Guardian Tamara Roske-Martinez; et al., Plaintiffs,
                                    v.
           The United States of America; Donald Trump, in his official
capacity as President of the United States; et al.,


                 IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF OREGON
                       (Case No. 6:15-cv-01517-TC)


          Prepared for Defendant and Attorneys for Defendant
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   I, Norman I. Klein MD, have been retained by the Defendants in the
above cited case, to provide expert opinion and testimony, regarding
the allegations of respiratory health issues set forth in Plaintiffs’
complaint and Plaintiffs’ individual declarations, as well as Plaintiffs’
and Plaintiffs’ experts’ discussion of the relationship between those
alleged respiratory health issues and climate change. I am being
compensated for my work at the rate of $375 per hour, with a $3,000
fee for half-day or $5,500 fee for full-day deposition testimony or court
appearance. My payment is not contingent on the outcome of this—or
any other—litigation.
   I am board certified in Pediatrics and in Allergy Immunology. I have
been practicing medicine with a focus on treating asthma and other
respiratory diseases in children, adolescents and adults since 1976. I
have had numerous teaching and academic positions during this time.
in preparing this report, I reviewed the following documents:
  1. The first amended Complaint (ECF No. 7)
  2. Declaration of Dr. Hansen and accompanying exhibits
  3. The article attached as Exhibit 3 to Plaintiffs’ complaint (ECF No.
     7-4).
  4. Declarations in support of Plaintiffs’ motion for summary
     judgement
  5. Expert reports of:
     a. Dr. Frumkin
     b. Dr. Van Susteren
     c. Drs. Pacheco and Paulson
     I understand that discovery in this case is ongoing. To the extent
relevant materials or testimony is revealed during the course of those
discovery efforts, I reserve my right to amend this report, as
appropriate.

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      I have been asked to opine on whether Plaintiffs’ expert reports,
specifically the reports from Drs. Frumkin, Pacheco, and Paulson
(collectively, “Expert Reports”), establish a causal connection between
the harms the individual Plaintiffs complain of and climate change. The
reports are, in essence, a recap of statistics, probability, and predictions
of a global nature. With respect to the focus of this report (i.e.,
respiratory ailments like asthma and allergies), Drs. Frumkin, Paulson,
and Pacheco overgeneralize and refocus the broader abstract analyses
cited in the Expert Reports and apply those analyses to the specific
claims of harm documented in the Complaint and in the Plaintiffs’
individual declarations
      In order to assess the soundness of the Expert Reports’ direct
application of (1) general risk studies and general probabilities that
climate change can increase the risks of, among other things, asthma
and allergies to (2) the specific complaints of asthma and allergies set
forth in Plaintiffs’ complaint and declarations, medical professionals
must determine if those conditions apply to a particular individual
patient’s symptoms and condition at the time of the visit, as opposed to
a theoretical , and by ruling in or out other predisposing circumstances
or cause. When I see a patient in my office, a complete, detailed
history is taken to document triggers and possible triggers for their
allergy or asthma symptoms. The exact symptoms, severity, location,
and timing are determined, as accurately as possible, to attempt to
document specific causation for the particular incident, as well as the
condition in general. This is followed by a complete physical
examination. Testing for allergens and for pulmonary function would
then be done as indicated for each specific individual. Getting an
individual’s specific causation or trigger factor(s) identified allows for
more effective targeted therapy. This way, prescribed life style or
environmental changes and medications will be most effective.

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      As a threshold matter, a medical professional would not simply
rely on a complaint or a declaration filed in a lawsuit to establish
asthma and/or allergy symptoms. In order to confirm that these
symptoms are, in fact, experienced, a medical professional would take
the examination steps outlined in the preceding paragraph.
       Even if the individual Plaintiffs’ complaints of allergy and asthma
symptoms were credited, an examination of other potential
contributing factors must be evaluated before climate change could be
determined as a contributing, much less primarily contributing, factor
to these specific Plaintiffs. Asthma, like many medical conditions, is
multi factorial. Genetics plays an even larger role than does
environment. There are a number of theories for triggering asthma. For
example, the Hygiene Hypothesis suggests living conditions in much of
the world have become too (bacteriologically) clean, so children aren’t
being exposed to germs that train their immune systems to
differentiate between harmless and harmful substances. This
Hypothesis finds support in, among other observations, the fact that
children growing up on farms who are exposed to more bacterial
endotoxin have less allergies than their urban counterparts. In addition,
there is research suggesting that early antibiotic usage, changes
bacterial flora impacting development of allergies. Also, the increased
use of Acetaminophen (Tylenol) may have an impact on increased risk
for allergies and asthma. Moreover, lifestyle and diet changes that lead
to obesity have been suggested by many experts to increase asthma
prevalence. Vitamin D deficiency from excessive time indoors with
inadequate sunlight exposure has also been suggested as a likely




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causative factor. Finally, the number one trigger of asthma
exacerbation is viral infection, particularly influenza. 1
      Similarly, other respiratory allergies also have contributing factors
that do not concern climate change. Many of the same risk and cause
factors for asthma apply to Allergic Rhinitis. For example, Genetics is
again of prime importance, as are the Hygiene Hypothesis and viral
infection. 2
      By not evaluating these and other factors and focusing only on a
single possible trigger for the asthma and allergy symptoms set forth in
the complaint and in Plaintiffs’ declarations, Drs. Frumkin, Pacheco, and
Paulson offer an incomplete and, therefore, misleading explanation for
the relationship between those declarations and climate change. There
are no medical reports, test results, ER or hospital visits, or in fact any
objective documentation of any kind in the Plaintiff’s complaint. By way
of example, Plaintiffs’ complaint alleges, “Additionally, Alex is allergic to
pollen and suffers worse in unseasonably warm years. He also suffers
from asthma, which is worse in the increasingly smoky summer
months. Alex’s allergies and asthma will worsen as climate change
caused by defendants worsens.” (Complaint ¶ 28.) To substantiate
these allegations, a medical professional should review medical
records, examine Alex, and explore alternative explanations beyond
Defendants’ actions. In the absence of this data, I see no reliable basis
for substantiating these allegations or the allegation’s conclusion that



1
 Guidelines for the Diagnosis and Management of Asthma pp.22-23, 48-50, 165-89; Figs. 3-1, 3-
2, 3-17 (available at https://www.nhlbi.nih.gov/sites/default/files/media.docs/asthgdln_1.pdf).
2
 A general discussion of these factors can be found at J Allergy Clin Immunol. 2001 Nov; 108 (5
Suppl): S147-334, as well as https://www.jacionline.org/article/S0091-6749(11)01158-4/fulltext
and https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1661616/.
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“Alex’s specific allergies and asthma will worsen as climate change
caused by defendants worsen.”
      In conclusion, Drs. Frumkin, Pacheco, and Paulson confuse general
correlations from abstract epidemiological studies with clinical
examination of specific instances of asthma and allergy symptoms. One
cannot tie a specific instance of allergies or asthma to climate change
without a specific evaluation of the patient and an examination of all
potential contributors to allergies/asthma. Because Drs. Frumkin,
Pacheco, and Paulson did not conduct the necessary evaluation and/or
analysis to tie the abstract studies they rely on to the specific symptoms
set forth in the complaint and in the Plaintiffs’ declarations, I opine that
the conclusions Drs. Frumkin, Pacheco, and Paulson reach concerning
the role that climate change has had on the specific instances of
asthma and allergy complaints by the specific Plaintiffs in this case to be
unreliable.
Respectfully submitted,




Norman I. Klein, MD
August 13, 2018




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  caused by defendants worsen."
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 without a specific evaluation of the patient and an examination of all
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 Pacheoo, and Paulson did not conduct the necessary evaluation and/ or
analysis to tie the abstract studies they rely on to the specific symptoms
set forth in the complaint and in the Raintiffs' dedarations, I opine that
the condusions Ors. Frumkin, Pacheoo, and Paulson reach concerning
the role that dimate change has had on the specific instances of
asthma and allergy complaints by the specific Raintiffs in this case to be
unreliable.

Fe,pectfully submitted,



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Norman I. Klein, MD

August 13, 2018




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PROFESSIONAL EXPERIENCE

 June 1981- September 2017
                      BROOKDALE UNIVERSITY HOSPITAL AND MEDICAL CENTER, BROOKLYN, NY
                      Attending in Charge – Clinical Immunology and Allergy

 June 1981          SUNY HEALTH SCIENCE AT BROOKLYN
                    Assistant Professor of Pediatrics – SUNY

 December 2015      NYU Langone Medical Center
                    Clinical Assistant Professor of Medicine

 June 1981- September 2017
                     BROOKDALE UNIVERSITY HOSPITAL AND MEDICAL CENTER, BROOKLYN, NY
                      Attending – Department of Pediatrics
                      Associate Medical Staff – Department of Medicine

                    BROOKLYN HOSPITAL CENTER, BROOKLYN, NY
                    Medical Staff – Department of Pediatrics

 July 2014          New York College of Osteopathic Medicine, NY, NY
                    Adjunct Clinical Assistant Professor – Department of Pediatrics

 July 2014          Ross University School of Medicine
                    Clinical Assistant Professor of Pediatrics




EDUCATION

1972                Yeshiva University, New York
                    Magna Cum Laude - BA Biology

1976                SUNY of New York at Brooklyn
                    1976 – MD

1976 – 1978         Resident – Pediatrics
1978 – 1979         Chief Resident - Pediatrics
                    The Brookdale University Hospital and Medical Center, Brooklyn, New York

1979-1981           Fellow - Allergy/Immunology
                    Albert Einstein College of Medicine, Bronx, New York
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CERTIFICATION & LICENSURE

        ♦    American Board of Allergy & Immunology a conjoint Board of American Board of Internal
             Medicine and American Board of Pediatrics – No. 26397 – Board certified September 1981
        ♦    American Board of Pediatrics – No. 2399 certified October 1983
        ♦    New York State License: No. 132880 – October 1977

HONORS/AWARDS

        ♦    Alpha Epsilon Delta - Pre Medical Honor Society
        ♦    NY Magazine “Best Doctors” 2005,2006,2007,2008,2009,2010,2011
        ♦    US News and World Report “Best Doctors” 2011
        ♦    New York Times “Super Doctors” 2012, 2013,2014,2015,2016,2017

FELLOWSHIPS AND RESEARCH GRANTS

        1)      Brookdale University Hospital – Department of Psychiatry, July – August 1975 (summer
                fellowship in adult/child psychiatry under Dr. J. Frosch)
        2)      SUNY – Health Science Center at Brooklyn – Department of Pulmonary Medicine, July –
                August 1973 (summer research from the New York Lung Association “Search for Humeral
                Mediators of Exercise Induced Bronchoconstriction” under Dr. Harold Lyons and Dr.
                Albert Heurich)
        3)      Human Development Biology Training Grant NIH-T-32HDO 7053, Dr. Henry L. Barnett,
                July 1979 – June 1981
        4)      Brooklyn Pediatric AIDS Demonstration Project, 8/1/89 – 7/31/92 (sponsoring agency-
                HRSA)

ORGANIZATIONS AND SOCIETIES

♦    Member and Trustee – Children’s Immunology Research Fund – September 1982
♦    Brooklyn Pediatric Society – 1981
♦    Fellow American College of Allergists – June 1985

PUBLICATIONS

1.      Goldstein, J., Klein, N.I., and Rubinstein, A. Culture of rabbit tracheal epithelial cells in
        monolayer. Amer. Rev. Resp. Dis. Vol.112 No 4, April 1980 p.70
2.      Klein, N.I., Goldstein, H. and Rubinstein, A. Construction of a tracheal pouch in the rabbit. I.
        The secretory IGA system of the pouch, Amer. Rev. Resp. Dis. Vol. 121 No. 4, April 1980 p 367.
3.      Rubinstein, A., Sicklick, M., Gupta,A., Bernstein, L., Klein, N.I., Acquired Immuno-deficiency with
        T4/T8 ratios in infants born in to promiscuous and Drug-Addicted mothers. JAMA, May 6, 1983,
        Vol 249, No. 17.
4.      Goldstein, NH, Klein, N.I. Rubinstein, A., Construction of a Tracheal Pouch in Rabbits lung (1983)
        161:207-211.
5.      Seigel, W., Klein, N.I., Fresko, O., Mestel, A., Ulcerations of the large and small intestines
        secondary to cytomegalovirus in a child with acquired immuno-deficiency syndrome – submitted
        for publication.
6.      Lashley, M., Klein, N.I., Case Report: exercise-induced anaphylaxis in a 4-year-old boy, Annals of
        AllergyVol.64, Number 4,April 1990
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                     List of Cases in Which Dr. Klein Has Testified
                      at Trial or Deposition in the Last Four Years

1) Beard v. Ingram and Bell etal.
Jan. 2 2014
Fink Smith & Carney 34 w. 37th st NY, NY

2nd deposition
Nov. 24 2015
Deitz Reporting 26 Court St
Brooklyn, NY

2) Amundsen v. Flanagan
Dec. 4 2014
Office of Susan Hand & Associates
One South Bay Ave.
Islip , NY

3) Murphy v. The Regents of the University of California
Oct. 21 2016
Bee Reporting
55 Maple Ave.
Rockville Centre NY

4) Alexander v. Accentia
Jan 23 2017
Bee Reporting
55 Maple Ave.
Rockville Centre NY

5) Alexander v. Lemley
June 28 2018
Onondaga County Courthouse
Syracuse, NY
